Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 1 of 8
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            June 20, 2023
                                                                         Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        KIM L. THOMAS,         § CIVIL ACTION NO
                    Plaintiff, § 4:21-cv-01301
                               §
                               §
             vs.               § JUDGE CHARLES ESKRIDGE
                               §
                               §
        UNITED AIRLINES        §
        INC,                   §
                  Defendant. §

                    ORDER OF SANCTIONS AND
            REFERENCE TO THE UNITED STATES ATTORNEY

           Plaintiff Kim L. Thomas brought several claims
       against Defendant United Airlines Inc under Title VII, the
       ADA, and their state equivalents. Dkt 21. An order
       granting summary judgment in favor of United Airlines
       entered in March 2023. Dkt 47. That order detailed
       mendacious behavior by Thomas before and after she filed
       suit, along with complicit and amplifying behavior by her
       counsel, the Kennard Law Firm. See id at 15–20.
           As summarized there, with citation here to the
       pertinent underlying filings, Thomas insisted throughout
       this litigation (and before it even started) that she visited
       a specific hospital on July 20, 2019. This was no small
       factual detail but was instead central to the dispute that
       she chose to initiate against United Airlines. She then
       testified under oath at her deposition that she visited the
       hospital, while also swearing to having done so in an
       affidavit. See Dkts 36-2 at 43 & 38-11 at 3.
           The Kennard Law Firm also vouched for this fact in
       briefing filed on behalf of Thomas. The firm made this
       representation of fact not only when contesting whether
       United Airlines had met its burden under McDonnell
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 2 of 8




       Douglas, but also when arguing that a fact issue existed as
       to pretext—both material components of her claims for
       discrimination and retaliation. For example, see Dkts 38
       at 13, 15–16, 17–19, 21 & 44 at 1, 4–5. As to McDonnell
       Douglas, the Kennard Law Firm even stated in a
       surresponse, “At no point has Plaintiff conceded
       Defendant’s stated reason for termination; Plaintiff has
       maintained that, while supposed forgery and dishonesty
       were the reasons of termination cited by Defendant, she
       has committed no such acts.” Dkt 44 at 1.
            For its part, United Airlines submitted substantial and
       persuasive evidence that Thomas didn’t visit the hospital
       on July 20th, and that she instead later forged discharge
       papers purporting to show that she did. This included
       evidence that employees of the hospital informed United
       Airlines that no records existed of Thomas having been
       there on July 20th. See Dkt 36-1 at 56–57; see also 36-3
       & 36-4. It also included evidence that the discharge papers
       submitted by Thomas to establish the purported visit on
       July 20th bore a unique account number from a separate,
       overnight visit that occurred on August 13th and 14th. See
       Dkts 36-1 at 32 & 36-6. Throughout summary judgment
       practice, Thomas in no way attempted to rebut or refute
       with evidence what United Airlines had shown.
            Because of these concerns, the order granting summary
       judgment allowed United Airlines to move for sanctions
       against the Kennard Law Firm under Rule 11 of the
       Federal Rules of Civil Procedure. Dkt 47 at 20. It also
       permitted United Airlines to state in any such motion
       whether it believed that reference of Thomas to the United
       States Attorney for the Southern District of Texas for
       inquiry into potential perjury was appropriate. Ibid.
            Now pending is a motion by United Airlines requesting
       (i) sanctions against the Kennard Law Firm in the amount
       of $52,287.72, as the entirety of its fees and expenses
       incurred in defending against the claims in this action; and
       (ii) reference of Thomas to the United States Attorney.
       Dkt 48.




                                    2
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 3 of 8




           The Kennard Law firm hasn’t responded to the pending
       motion on behalf of either itself or its client. Its failure to
       respond is treated in the Southern District of Texas “as a
       representation of no opposition.” LR 7.4.
           Rule 11(b) states in full:
               REPRESENTATIONS TO THE COURT. By
               presenting to the court a pleading, written
               motion, or other paper—whether by
               signing, filing, submitting, or later advo-
               cating it—an attorney or unrepresented
               party certifies that to the best of the
               person’s knowledge, information, and
               belief, formed after an inquiry reasonable
               under the circumstances:
                   (1) it is not being presented for any
                   improper purpose, such as to harass,
                   cause unnecessary delay, or needlessly
                   increase the cost of litigation;
                   (2) the claims, defenses, and other legal
                   contentions are warranted by existing
                   law or by a nonfrivolous argument for
                   extending, modifying, or reversing
                   existing law or for establishing new
                   law;
                   (3) the factual contentions have
                   evidentiary support or, if specifically so
                   identified, will likely have evidentiary
                   support after a reasonable opportunity
                   for further investigation or discovery;
                   and
                   (4) the denials of factual contentions
                   are warranted on the evidence or, if
                   specifically so identified, are reason-
                   ably based on belief or a lack of infor-
                   mation.
       Rule 11(c) then further provides that district courts have
       authority to “impose an appropriate sanction” for violations
       of Rule 11(b).




                                     3
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 4 of 8




            In light of the evidence presented by United Airlines
       and available to Thomas and her counsel before this
       lawsuit began, the Court FINDS that the Kennard Law Firm
       (i) in violation of Rule 11(b)(3), submitted factual conten-
       tions in briefing that lacked minimal evidentiary support,
       and (ii) in violation of Rule 11(b)(4), made denials of factual
       contentions that could in no way be warranted on the
       available evidence.
            Specifically, the Kennard Law Firm affirmatively
       asserted in briefing on summary judgment that:
                o “On July 20, 2019 Plaintiff planned for travel
                     using her United travel benefits. ... While
                     waiting to fly standby, Plaintiff began to
                     experience UC symptoms. Plaintiff, unable to
                     travel in her condition, did not use any United
                     travel pass that day. Rather, on July 20,
                     Plaintiff went to the hospital as a result of her
                     UC.” Dkt 38 at 9–10 (emphasis added; record
                     citations omitted).
                o “In early October 2019 meeting, Plaintiff was
                     wrongfully accused of forgery and dishonesty
                     pertaining to documentation of her prior
                     hospital visit.” Id at 11 (emphasis added).
                o “Plaintiff never falsified any documents nor did
                     she lie about visiting the hospital, yet Plaintiff
                     was terminated due to these false allegations.”
                     Id at 15–16 (emphasis added).
                o “Defendant argues that Plaintiff’s employment
                     was terminated because she supposedly (i)
                     falsely stated that she went to the emergency
                     room, (ii) submitted a falsified document to
                     support this visit, and (iii) refused to cooperate
                     with Defendant’s investigation. Note that,
                     Plaintiff has proof that she was at the hospital
                     on the day in question.” Id at 18 (emphasis
                     added; record citations omitted).
                o “While Defendant cites forgery and dishonesty
                     as its reasons for terminating Plaintiff, these




                                      4
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 5 of 8




                   reasons are merely pretextual. Plaintiff has
                   proof that she was at the hospital on the day in
                   question.” Id at 21 (emphasis added; record
                   citations omitted).
               o “At no point has Plaintiff conceded Defendant’s
                   stated reason for termination; Plaintiff has
                   maintained, that while supposed forgery and
                   dishonesty were the reasons of termination
                   cited by Defendant, she has committed no such
                   acts.” Dkt 44 at 1 (emphasis added).
               o “While Plaintiff did go to the airport with the
                   intention to travel, she never ended up
                   traveling due to an UC flare. This is evidenced
                   by documentation showing that Plaintiff went
                   to the hospital on July 20th.” Id at 4 (emphasis
                   added).
               o “While Plaintiff had planned to travel, Plaintiff
                   did not actually travel on July 20, 2019, due to
                   her UC. Plaintiff was at the airport, but
                   ultimately left and went to the emergency room
                   that day. Plaintiff did not call out sick and then
                   attempt to use a travel pass, rather, Plaintiff
                   intended to use a travel pass, suffered an UC
                   flare, did not use the pass, and then
                   subsequently reported to Defendant that she
                   had been ill.” Id at 5 (emphasis added).
           The Court additionally FINDS that substantial evidence
       establishes that Thomas did indeed falsify documents and
       lie about visiting the hospital. Given the evidence that
       United Airlines has put forward all along the way, both
       prior to and during this litigation, the Kennard Law Firm
       could not merely accept as true and trustworthy
       allegations such as those made by Thomas and on that
       basis present them to a federal court. Rule 11(b) instead
       requires “an inquiry reasonable under the circumstances.”
       Because the Kennard Law Firm has chosen not to respond
       to the motion, the Court FINDS that the Kennard Law Firm
       concedes that it failed to undertake any such reasonable
       inquiry into the allegations made by its client.



                                     5
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 6 of 8




            Because the Kennard Law Firm has chosen not to
       respond to the motion, the Court additionally FINDS that
       the Kennard Law Firm has also conceded that it initiated
       and maintained this lawsuit without any good-faith basis
       under Rule 11(b)(1) and (b)(2). In this regard, the Court
       also FINDS that the amended complaint was made without
       reasonable investigation and minimal evidentiary support
       for the improper purpose of harassing United Airlines, and
       that the claims and legal contentions asserted on behalf of
       Thomas were in no way warranted by existing law. Dkt 21.
            The Court additionally FINDS that such conduct
       warrants sanctions under Rule 11 against both the
       Kennard Law Firm and Ellen Sprovach, the attorney
       designated on the docket as responsible for this matter. See
       FRCP 11(c)(1): “Absent exceptional circumstances, a law
       firm must be held jointly responsible for a violation
       committed by its partner, associate, or employee.”
            Thomas was the source of the falsehoods that the
       Kennard Law Firm sponsored and amplified in briefing
       and evidence. See Dkt 47 at 15–17. She testified under oath
       that she “absolutely did not forge” her discharge papers
       and that she was “certainly” at the hospital on July 20th.
       See Dkt 36-2 at 40, 42. She made similar representations
       in a sworn declaration. Dkt 38-11 at 3.
            The Court FINDS that these sworn statements go to a
       material element of her discrimination claims. And as
       already explained above, the Court additionally FINDS that
       clear and persuasive evidence submitted by United
       Airlines shows that these statements were not merely
       false, but of their nature were knowingly false.
            Misrepresentations such as these, when knowingly
       made in the course of litigation, come with consequences.
       The Fifth Circuit observes, “The proper administration of
       justice depends on people testifying truthfully under oath.”
       Brown v Oil States Skagit Smatco, 664 F3d 71, 77 (5th Cir
       2011). And as stated by the Seventh Circuit, “the judicial
       system cannot tolerate deception from litigants.” Neal v
       LaRiva, 765 F3d 788, 790 (7th Cir 2014).




                                    6
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 7 of 8




            The Court thus FINDS that reference to the United
       States Attorney for further consideration as to perjury
       and/or the submission of false documents is warranted.
       Accord Neal, 765 F3d at 791; Brown & Brown Inc v Ali,
       592 F Supp 2d 1009, 1051 (ND Ill 2009); A.V. by Versace
       Inc v Gianni Versace SpA, 446 F Supp 2d 252, 276–77
       (SDNY 2006); Devine v Wal-Mart Stores Inc, 52 F Supp 2d
       741, 746, n 7 (SD Miss 1999).
            With this referral, it must again be noted that the
       Kennard Law Firm declined entirely to respond—on behalf
       of either itself or its client—to the motion by United
       Airlines. As such, it briefed no defense or explanation of
       Thomas’s conduct to this Court. What advice or
       encouragement, if any, that the Kennard Law Firm gave to
       Thomas concerning the conduct under consideration is
       thus unknown. The United States Attorney should
       consider, if believed appropriate (i) whether the conduct of
       the Kennard Law Firm itself implicates the prohibitions of
       18 USC § 1621 or any similar statute, and (ii) whether the
       advice or explanations given by the Kennard Law Firm to
       Thomas provide any defense or otherwise affect the
       exercise of prosecutorial discretion as to her.
                                  * * *
            The motion by Defendant United Airlines Inc for
       sanctions and reference to the United States Attorney is
       GRANTED. Dkt 48.
            The Kennard Law Firm and Ellen Sprovach are jointly
       ORDERED to pay United Airlines $52,287.72 in attorney fees
       and costs by June 30, 2023.
            The Clerk is ORDERED to send copies of this order, the
       order granting summary judgment (Dkt 47), and the case
       file to the United States Attorney for the Southern District
       of Texas so that he may consider whether Plaintiff Kim L.
       Thomas and/or the Kennard Law Firm should be
       prosecuted for the crime of perjury, under 18 USC § 1621,
       or any other offense that he deems appropriate.
            A final judgment will enter by separate order.




                                    7
Case 4:21-cv-01301 Document 49 Filed on 06/16/23 in TXSD Page 8 of 8




          SO ORDERED.

          Signed on June 16, 2023, at Houston, Texas.



                               __________________________
                               Hon. Charles Eskridge
                               United States District Judge




                                 8
